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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                                   PIKEVILLE

CRIMINAL ACTION NO. 03-35-DLB

UNITED STATES OF AMERICA                                                        PLAINTIFF


VS.                     MEMORANDUM OPINION AND ORDER


VERNON SLONE                                                                 DEFENDANT

                               ********************************

       This matter is currently before the court upon Defendant Vernon Slone’s Motion to

Re-Docket and for Re-Sentencing pursuant to the Supreme Court’s decision in United

States v. Booker, 125 S.Ct. 738 (2005). (Doc. # 214) Although not styled as a motion to

vacate sentence pursuant to 28 U.S.C. § 2255, because the relief sought in the motion is

the same as traditionally requested in § 2255 motions, to wit, re-sentencing, the Court will

construe the motion as a motion to vacate sentence pursuant to § 2255.

       So construed, ordinarily the motion would be referred to the United States

Magistrate Judge for a Report and Recommendation. However, in light of the issues raised

by Defendant in the motion, the Court will proceed to address this matter without the

necessity of a magistrate's report.

       I.     Factual and Procedural Background

       On February 5, 2004, Defendant entered a guilty plea to Counts 1, 9 and 11 of the

Indictment. In his written plea agreement, Defendant agreed to a relevant conduct of

between 3.5 and 5 kilograms of cocaine and stipulated that some of the firearms listed in



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Count 9 were possessed by him in furtherance of the cocaine conspiracy. Based on the

quantity of the cocaine, the parties also recommended a base offense level of 30 pursuant

to USSG § 2D1.1 and a 2 level reduction pursuant to USSG § 3E1.1. The government also

agreed to recommend a sentence of 12 years at the time of sentencing. Defendant further

agreed to waive his right to appeal and attack collaterally his guilty plea and conviction.

There was no waiver regarding the sentence.

       On May 4, 2004, Defendant appeared for sentencing. At that time the Court

adopted the guidelines recommended by the Probation Officer which mirrored those

recommended by the parties in the plea agreement. The Court also accepted the plea

agreement. Based on a total offense level of 28 and criminal history category of I,

Defendant’s sentencing guideline range on Count 1 was 78-97 months, mandatorily

consecutive to 60 months on Count 9.

       Defendant was sentenced to 84 months on Count 1, consecutive to 60 months on

Count 9, for a total sentence of 144 months. A corresponding judgment was filed on May

4, 2004. However, Defendant did not file a timely appeal.

       II.   Discussion

       In his motion (Doc. # 214), Defendant requests to be re-sentenced pursuant to the

Booker decision. For the reasons that follow, the motion is denied.

       As an initial matter, the Court notes that Defendant agreed to the only enhancement

contained in the guidelines in this case. Defendant’s plea agreement contained an agreed

relevant conduct amount of 3.5 to 5 kilograms of cocaine, which yielded a base offense

level of 30. The only other adjustment to the guidelines was a 2 level reduction for



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acceptance of responsibility. Because Defendant admitted that the offense for which he

was convicted in Count 1 involved 3.5 to 5 kilograms of cocaine, imposing a sentence on

the basis of this quantity of cocaine comports with Booker and did not violate Defendant’s

Sixth Amendment rights. See Booker, 125 S.Ct. at 756 ("Any fact [other than a prior

conviction] which is necessary to support a sentence exceeding the maximum authorized

by the facts established by a plea of guilty or a jury verdict must be admitted by the

defendant or proved to a jury beyond a reasonable doubt.") (italics added). See also

United States v. Amiker, 414 F.3d 606, 607 (6th Cir. 2005) (where a defendant pleads

guilty, the government " 'is free to seek judicial sentence enhancements so long as the

defendant either stipulates to the relevant facts or consents to judicial factfinding.' ")

(citation to Booker and Blakely omitted)

        The Booker Court directed that its holding be applied to all cases on direct review.

125 S.Ct. at 769. A case is considered final and no longer on direct review when a

"judgment of conviction has been rendered, the availability of appeal exhausted, and the

time for a petition for certiorari elapsed or a petition for certiorari finally denied." Griffith v.

Kentucky, 479 U.S. 314, 321 n. 6 (1987). Because Defendant took no appeal of his

sentence, his conviction and sentence became final 10 days later (i.e., on May 14, 2004),

when the time for filing a notice of appeal expired. See Fed. R.App. P. 4(b). Defendant’s

case therefore no longer was on direct review when Booker was decided on January 12,

2005.

        The Sixth Circuit has explicitly held that the new procedural rules set forth in Blakely

and Booker do not apply retroactively to § 2255 cases on collateral review. See Humphress

v. United States, 398 F.3d 855, 860-863 (6th Cir. 2005), cert. denied, --- S.Ct. ----, 2005 WL

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1671557 (U.S. Oct 03, 2005). Based on the express holding in Humphress, Defendant is

not entitled to relief on his motion because Booker does not retroactively apply to cases

that were final before January 12, 2005.

       Accordingly, IT IS ORDERED AS FOLLOWS:

       1.      Defendant Vernon Slone’s Motion to Re-Docket and for Re-Sentencing (Doc.

               # 214) be, and is hereby, DENIED, with prejudice;

       2.      This action is hereby DISMISSED, sua sponte, and STRICKEN from the

               Court’s docket. A corresponding Judgment will be entered this date.

       This 12th day of October, 2005.




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